B19-29454                                   CAJ/ajr                                   06/11/2019

                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                           EASTERN DIVISION - YOUNGSTOWN

                                              )
IN RE:                                        )    CHAPTER 13
                                              )
WILLIAM J. SLOMCHECK                          )    CASE NO.19-40977
                                              )
ANNA-MARIA H. DOLANSKY-                       )    JUDGE RUSS KENDIG
SLOMCHECK                                     )
Debtors                                       )    NOTICE OF APPEARANCE AND REQUEST
                                              )    FOR SERVICE OF PAPERS

         Please take notice that Cynthia A. Jeffrey of Reimer Law Co., hereby enters her

appearance as attorney for PENNYMAC LOAN SERVICES, LLC, in the above proceeding and

pursuant to Bankruptcy Rule 2002, requests that his name be added to the mailing list maintained

by the Clerk in the above case and all notices given or required to be given in this case and all

papers served or required to be served in this case be given to and served on the following:

                                       REIMER LAW CO.
                                     Cynthia A. Jeffrey, ESQ.
                                      30455 SOLON ROAD
                                      SOLON, OHIO 44139

         Please take further notice that the foregoing request includes notices and papers referred

to in Rule 2002 of the Bankruptcy Rules and also includes, without limitation, notices of any

orders, pleadings, motions, applications, complaints, demands, hearings, requests or petitions,

answer and reply papers, memoranda and briefs in support of any of the foregoing and any other

document brought before this Court with respect to these proceedings, whether formal or

informal, whether written or oral, and whether transmitted or conveyed by mail, deliver,

telephone, or otherwise.




 19-40977-rk      Doc 18     FILED 06/11/19       ENTERED 06/11/19 11:57:29          Page 1 of 3
Date: June 11, 2019




                                  /s/ Cynthia A. Jeffrey
                                  Reimer Law Co.
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                                  Edward A. Bailey #0068073
                                  Richard J. LaCivita #0072368
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19-40977-rk     Doc 18   FILED 06/11/19   ENTERED 06/11/19 11:57:29   Page 2 of 3
                                  CERTIFICATE OF SERVICE

I certify that on June 11, 2019, a true and correct copy of the Notice was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the court’s Electronic Mail Notice List:

Office of the U.S. Trustee at (Registered address)@usdoj.gov

Michael A. Gallo on behalf of the Chapter 13 Trustee's office
      mgallo@gallotrustee.com

Ursula P. Shugart, Esq. on behalf of William J. Slomcheck, Debtor
       shugartlaw@yahoo.com

And by regular U.S. mail, postage prepaid, to:

William J. Slomcheck                                 Michael Kohut
Anna-Maria H. Dolansky-Slomcheck,                    35913 Westminster Ave
Debtors                                              North Ridgeville, OH 44039
2333 Oak Trace Street
Youngstown, OH 44515                                 Youngstown Ohio Hospital Co., LLC
                                                     500 Gypsy Lane
Mahoning County Treasurer                            Youngstown, OH 44504
120 Market Street
Youngstown, Ohio 44503

Midland Funding, LLC
2365 Northside Dr., Ste 300
San Diego, CA 92108


                                         /s/ Cynthia A. Jeffrey
                                         Reimer Law Co.
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 19-40977-rk     Doc 18     FILED 06/11/19       ENTERED 06/11/19 11:57:29           Page 3 of 3
